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                              UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                     DAYTON, OHIO

UNITED STATES OF AMERICA                       : CASE NO: 3:21-cr-00025-WHR-1
 Plaintiff,                                    :
                                               :
v.                                             :
                                               :
DEVON RICE                                     : ENTRY
 Defendant,                                    :


      Upon defendant’s motion to modify his bond to permit him to accept round trip contracts of

up to 350 miles for his business. Defendant is to also maintain records of the trips, cargo, and

businesses involved and tender them to pretrial when requested.

     This Court finds the motion well taken and grants it.



                                                                (tp - per Judge Rice authorization after his review)
                                               __________________________
                                               JUDGE
